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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND INC., et al.,1                                   Case No. 23-13359 (VFP)

                                     Debtors.                       (Jointly Administered)


                LIMITED OBJECTION AND RESERVATION OF RIGHTS OF
                 THE PLAN ADMINISTRATOR TO MOTION FOR RELIEF
              FROM AUTOMATIC STAY FILED BY PENELOPE DUCZKOWSKI

                                                                                               2
          Michael Goldberg, as plan administrator (the “Plan Administrator”), files this limited

 objection and reservation of rights (this “Objection”) to the Motion for Relief from Automatic Stay




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2
     The Plan Administrator has been appointed pursuant to the Debtors’ Plan, as defined herein. The Plan
     Administrator is responsible for and has the authority to administer certain post-confirmation responsibilities
     under the Plan on behalf of the Wind-Down Debtors.



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 Pursuant to 11 U.S.C. § 362 and Request for Waiver of 14 Day Stay Imposed By Bankruptcy Rule

 4001(a)(3) [Docket No. 2723] (the “Motion”) and respectfully states as follows:

                                                   Background

          1.        On April 23, 2023, each of the above-captioned debtors (the “Debtors”) filed a

 voluntary petition under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

 During these chapter 11 cases, the Debtors continued to operate their businesses and manage their

 properties as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. These chapter 11 cases are procedurally consolidated and jointly administered

 pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

 No party has requested the appointment of a trustee or examiner in these chapter 11 cases.

          2.        On September 11, 2023, the Debtors filed their Second Amended Joint Chapter 11
                                                                                                              3
 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2160] (the “Plan”). On

 September 14, 2023, the Court entered an Order confirming the Plan (the “Confirmation Order”)

 [Docket No. 2172].

          3.        On September 29, 2023 (the “Effective Date”), the Debtors filed the Notice of

 (I) Entry of the Order (A) Approving the Disclosure Statement on a Final Basis and

 (B) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its

 Debtor Affiliates and (II) Occurrence of Effective Date [Docket No. 2311]. Pursuant to the Plan,

 on the Effective Date, the Plan Administrator became the sole representative of the Wind-

 Down Debtors.




 3
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.


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                                                   Objection

          4.        The Plan Administrator files this Objection to preserve rights while the parties

 attempt to resolve the Motion consensually. The Plan Administrator intends to work with counsel

 to the movant to enter into a stipulation and consent order regarding relief from the automatic stay

 to enable the movant to continue her lawsuit solely for the purpose of pursuing, litigating, and

 collecting from applicable insurance policies, if any.

                                              Reservation of Rights

          5.        Until the Motion is resolved, the Trustee reserves all rights to supplement this

 Objection on any and all available substantive and non-substantive grounds that bankruptcy and

 non-bankruptcy law may permit, to conduct discovery into the matters raised by the Motion, and

 to present evidence at any hearing on the Motion.



 Dated: January 2, 2024                     PACHULSKI STANG ZIEHL & JONES LLP
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